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 5
   Attorneys for Plaintiff
 6 United States of America

 7                               IN THE UNITED STATES DISTRICT COURT

 8                                  EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                          CASE NO. 1:15-CR-00288 LJO-SKO

11                                 Plaintiff,           STIPULATION TO CONTINUE TRIAL

12                          v.
                                                        Date: June 25, 2019
13   JORGE ARREOLA-SERRATO.                             Time: 8:30 a.m.
                                                        Honorable Lawrence J. O’Neill
14                                 Defendants.

15

16          The United States of America, by and through McGREGOR W. SCOTT, United States Attorney,
17 and KATHLEEN A. SERVATIUS, Assistant United States Attorney, and the defendant Jorge Arreola-

18 Serrato, by and through his attorney of record, James Brusseau, hereby stipulate to continue the trial in

19 this case from June 25, 2019 until December 17, 2019 at 8:30 a.m.

20          The parties request that time be excluded between June 25, 2019 and December 17, 2019 for the
21 following reasons: (1) the government attorney is scheduled for surgery June 19, 2019 and will be

22 recuperating for several weeks thereafter; (2) the government attorney is unavailable for trial in August

23 due to a training commitment and another three defendant trial; (3) James Brusseau is unavailable for

24 trial in September due the need to prepare and try a case; (4) government attorney is unavailable for trial

25 in October and November as she has two trials scheduled for late October, one of which is expected to

26 carry over into November. The proposed trial date represents the earliest date that both counsel are

27 available thereafter, taking into account the schedules of both counsel, and the need for preparation in

28 the case and further investigation.

      STIPULATION TO CONTINUE TRIAL DATE AND ORDER
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 1          The parties further believe that time should be excluded until December 17, 2019, in that failure

 2 to grant the requested case schedule would unreasonably unreasonably deny both the defendant and the

 3 government the reasonable time necessary for effective preparation, taking into account the parties’ due

 4 diligence in prosecuting this case. 18 U.S.C. Section 3161(h)(7)(B)(iv). Based on the above-stated

 5 findings, the ends of justice served by the schedule as requested outweigh the interest of the public and

 6 the defendant in a trial within the original date prescribed by the Speedy Trial Act. Therefore, the

 7 parties request that the Court exclude the time until the new trial date from calculations under the

 8 Speedy Trial Act.

 9    Dated: June 5, 2019                                    McGREGOR W. SCOTT
                                                             United States Attorney
10
                                                             /s/ Kathleen A. Servatius
11                                                           KATHLEEN A. SERVATIUS
                                                             Assistant United States Attorney
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13
     Dated: June 5, 2019                                 /s/ James Alan Brusseau
14                                                       Attorney for Jorge Arreola-Serrato

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      STIPULATION TO CONTINUE TRIAL DATE AND ORDER
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 1                                                    ORDER

 2          IT IS HEREBY ORDERED that the trial in this case be continued from June 25, 2019 until

 3 December 17, 2019 at 8:30 a.m.

 4          IT IS FURTHER ORDERED THAT the ends of justice served by the schedule set forth herein as

 5 requested outweigh the interest of the public and the defendants in a trial within the original date

 6 prescribed by the Speedy Trial Act for the reasons stated in the parties’ stipulation. For the purpose of

 7 computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which trial must

 8 commence, the time period of June 25, 2019 and December 17, 2019, inclusive, is deemed excludable

 9 pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a continuance granted by the Court

10 at the parties’ request on the basis of the Court’s finding that the ends of justice served by taking such

11 action outweigh the best interest of the public and the defendant in a speedy trial.

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     IT IS SO ORDERED.
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        Dated:     June 10, 2019                              /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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      STIPULATION TO CONTINUE TRIAL DATE AND ORDER
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